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                                            U.S. Department of Justice

                                            Office of the United States Trustee
                                                          Southern District of New York

                                            201 Varick Street                        (212) 510-0500
                                            Room 1006                           Fax: (212) 668-2255
                                            New York, New York 10014



                           INVOLUNTARY CASE MEMORANDUM


TO:              Case Administration-Judge Team for Judge Jones
                 New York, New York

FROM:            William K. Harrington
                 United States Trustee

PREPARED BY:     Mary Moroney

DATE:            May 12, 2021

RE:           Kossoff PLLC, Case No. 21-10699(DSJ))
              Appointment of Interim Trustee Prior to Order for
              Relief.
-----------------------------------------------------------------
     Albert Togut has been selected as the interim trustee for the
case. His address is Togut, Segal & Segal, One Penn Plaza, Suite
3335, New York, New York 10119. Telephone No.(212) 594-5000 Fax (212)
967-4258.

        Do not schedule a section 341(a) meeting at this time.

     Please prepare your regular notice regarding the order for
relief and indicate that Albert Togut is the Interim Trustee.




cc: Albert Togut, Interim Trustee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X
In re                          :                   Case No. 20-10699(DSJ)
                               :
Kossoff PLLC.,                :                      NOTICE TO TRUSTEE OF
                               :                    APPOINTMENT AND FIXING
                               :                        AMOUNT OF BOND
                               :
Debtor.                        :
                               :
------------------------------X

TO:       Albert Togut
          One Penn Plaza, Suite 3335
          New York, New York 10119

     An order for relief having been signed in the above-captioned
involuntary case (11 U.S.C. § 303(h)) which was commenced on April 13,
2021, you have been appointed, pursuant to 11 U.S.C. § 701(a), as
Interim Trustee of the estate of the above-named debtor. If no
trustee is elected, you shall serve as the trustee in this case by
operation of law. 11 U.S.C. § 702(d).

     The amount of your bond is covered by the bond of Interim
Trustees in Chapter 7 cases issued by Liberty Mutual Insurance Company
which is on file with this Office and the Bankruptcy Court. See 11
U.S.C. § 322(a); FRBP 2008; FRBP 2010(a)). You are required to notify
the undersigned in writing within five (5) business days after receipt
of this notice in the event you reject this appointment.

Dated:        New York, New York
              May 12, 2021




                                              William K. Harrington
                                              William K. Harrington
                                              United States Trustee
                                              201 Varick Street
                                              Room 201
                                              New York, New York 10014
                                              (212) 510-0500




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